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            Case 8:15-cr-00258-PJM Document 13 Filed 07/06/15 Page 1 of 18
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                                                                                         JUL     6 2015
                                                                                        AT GFi-=i:NBELT
                       IN THE UNITED STATES DISTRICT COURT    CLEh:<. u.s DISTRICT COURT
                                                                DISTRICT 0;: MARYLAND
                           FOR THE DISTRICT OF MARYLAND    BY            ,r;iJ       DEPUTY

UNITED STATES OF AMERICA                         *
                                                 *
       v.                                        *          CRIMINAL     NO. P.IM 15-0258
                                                 *
ALDAIR GARCIA-MIRANDA,                           *          (Conspiracy to Participate in a
   alkla "Callado,"                              *          Racketeering Enterprise, 18 U.S.c.
   alkla "Poseido,"                              *          ~ 1962(d); Conspiracy to Commit
SEL VIN RA YMUNDO SALAZAR,                       *          Murder in Aid of Racketeering, 18
   alkla "Little,"                               *          U.S.c. ~ 1959(a)(5); Attempted
   alkla "Inquieto," and                         *          Murder in Aid of Racketeering, 18
RAUL ERNESTO                                     *          U.S.c. ~ 1959(a)(5); Usc, Carry,
LANDA VERDE-GIRON,                               *          Brandish, and Discharge a Firearm
   alkla "Decente,"                              *          During and in I{elation to :1 Crime of
   alkla "Humilde"                               *          Violence, 18 U.S.c. ~ 924(c)j and
                                                 *          Aiding and Abetting, 18 U.S.c. ~ 2)
              Defendants                         *
                                                 *
                                             *******

                                SUPERSEDING          INDICTMENT

                                           COUNT ONE
                  (Conspiracy    to Participate in a Racketeering     Enterprise)

       The Grand Jury for the District of Maryland charges that:

       At all times relevant to this Superseding Indictment:

                                          In trod lIetion

       1.      La Mara Sall'aIrucha, also known as the MS-I3 gang ("MS-I3"), was a gang

composed primarily of immigrants or descendants of immigrants from El Salvador, with members

operating in the State of Maryland, including in Montgomery County and Prince George's County.

and throughout the United States.

       2.      The name "Mara Salvatrucha" was a combination of several slang terms.           The

word "Mara" was the term used in EI Salvador for "gang"         The phrase "Salvatrucha" was a
             Case 8:15-cr-00258-PJM Document 13 Filed 07/06/15 Page 2 of 18



combination of the words "Salva," which was an abbreviation for "Salvadoran," and "trucha,"

which was a slang teml for "fear us," "look out," or "heads up,"

        3.          [n the United States, MS-13 has been functioning since at least the 1980s. MS-13

originated in Los Angeles, California, where MS-13 members banded together for proteetion

against the larger Mexican groups.        MS-13 evolved into a gang that engaged in turf wars for the

control of drug distribution locations.     MS.13 quickly spread to states across the country,

including Maryland.

        4.       MS-13 was a national and international criminal organization and was one of the

largest strcet gangs in the United States.     Gang members actively recruited mcmbers. including

juveniles, from communities with a large number of Salvadoran immigrants.

        5.      ALDAIR GARCIA-MIRANDA                    ("GARCIA-MIRANDA"),       SELVIN

RA YMUNDO SALAZAR ("SALAZAR"),                    RAUL ERNESTO        LANDAVERDE-GIRON

("LANDA VERDE-GIRON"),              and others known and unknown to the Grand Jury, were members

and associates of MS-!3.

        6.       Members of MS. J 3 from time to time signified their membership by wearing

tattoos reading "MARA SAL VATRUCHA," "MS," "MS-13," or similar tattoos, otten written in

gothic lettering.     Mcmbers also signified their membership through tattoos of dcvil horns in

various places on their bodies.     Members sometimes avoided conspicuous MS- J 3 tattoos, instead

wearing discreet ones such as "503," spider webs, three dots in a trianglc fomlation signifying

"vida loca," or clown faces with phrases such as "laugh now, cry later."      Some MS-13 members

have chosen not to have tattoos at all. or to havc them placcd on areas such as the hairline where

they can be easily covered. in order to conceal their gang affiliation from law enforcement.




                                                     2
              Case 8:15-cr-00258-PJM Document 13 Filed 07/06/15 Page 3 of 18



         7.       The gang colors of MS-13 wcre blue, black, and white, and members often wore

clothing, particularly sports jerseys, with the number "13." or with numbers that, when added

together, totaled 13, such as "76."    MS-13 members also wore blue and white clothing to

represent their membership, including blue and white shoes such as the Nike "Cortez."        As with

tattoos, some MS-13 members selected more discreet ways of dressing in order to signify their

membership and at the same time avoid detection by law enforcement.

        8.        MS-13 members referred to one another by their gang names, or monikers, and

often did not know fellow gang members except by their gang names.

        9.        Members ofMS-13 were expected to protect the name, reputation, and status of the

gang from rival gang members and other persons.       MS-13 members required that all individuals

show respect and deference to the gang and its membership.       To protect the gang and to enhance

its reputation, MS-13 members were expected to use any means necessary to force respect from

those who showed disrespect, including acts of intimidation and violence.      MS-13 's creed was

based on one of its mottos, "Mala. roba. viola. conlrolla," which translated in sum and substance

to, "Kill, steal, rape, control."

        IO.       Members and associates of MS-13 frequently engaged in criminal activity,

including, but not limited to, murder, assault, and extortion, as well as attempts and conspiracies to

commit such offenses.       MS-13 members were required to commit acts of violence to maintain

membership and discipline within the gang, as well as against rival gang members.        Participation

in criminal activity by a member, particularly in violent acts directed at rival gangs or as directed

by gang leadership. increased the respect accorded to that member, resulted in that member

maintaining or increasing his position in the gang, and opened the door to a promotion to a

leadership position.    One of the principal rules ofMS-13 was that its members must attack and kill



                                                  3
            Case 8:15-cr-00258-PJM Document 13 Filed 07/06/15 Page 4 of 18



rivals whenever possible.    Rivals were often referred to as "chavalas."    MS-13, in the areas of

Prince George's County and Montgomery County, Maryland, maintained rivalries with the 18th

Street Gang, Latin Kings, Adelphi Crew, and Lewisdale Crew, among others.

        11.      Prospective members who sought to join MS-13 were required to complete an

initiation process.   Individuals who associated and committed crimes with the gang, but were not

prospective members, were called "paisas."      Individuals who were attempting to join the gang

were called "chequejos," or "eheqs."'    Chequejos underwent a probationary period during which

they were required to commit crimes on behalfofMS-13        to achieve trust and prove their loyalty to

the gang.     To join MS-13 and become full members or "homeboys," prospective members were

required to complete an initiation process, olien referred to as being "jumped in" or "beat in" to the

gang.   During that initiation, other members of MS-13 would beat the new member, usually until

a gang member finished counting aloud to the number thirteen, representing the "13" in MS-13.

        12.      MS-13 was an international criminal organization, and was organized in Maryland

and elsewhere into "cliques," that is. smaller groups operating in a specitic city or region.   Cliques

operated under the umbrella rules of MS-13.      MS-13 cliques often worked together cooperatively

to engage in criminal activity and to assist one another in avoiding detection by law enforcement.

In Maryland and the surrounding area, these cliques included Normandie Locos Salvatrucha

("NLS" or "Normandie Clique"), Sailors Locos Salvatrucha Westside ("SLSW"), I'arkview Locos

Salvatrucha ("PYLS"). Guunacos Little Psychos Salvatrucha ("GLS"). Weedons Locos

Salvatrucha ("WLS"), I'eajes Locos Salvatrucha ("I'LS"), Langley Park Salvatrucha ("LPS"),

Fulton Locos Salvatrucha ("FLS"), Dalmacia Criminal Locos Salvatrucha ("DCLS"). and Western

Locos Salvatrucha ("WLS").




                                                   4
            Case 8:15-cr-00258-PJM Document 13 Filed 07/06/15 Page 5 of 18



          13.    GARCIA-MIRANDA,          SALAZAR and LANDAVERDE-GIRON                   were

members and associates of the NOID1andieClique ofMS-13.

          14.    Each clique was presided over by the "First Word;' the leader or president of the

clique.    The leader was also referred to as "Primera Palabra," or "Shotcaller."    The "Second

Word," or "Segundo Palabra," was the sccond-in-command of the clique.         General members were

required to take orders from the First Word and Second Word.

          15.    For a period of time beginning at least in or about late 2013 or early 2014,

GARCIA-MIRANDA            and SALAZAR served as the leaders of the Normandie Clique in the area

of Prince George's County and Montgomery County, Maryland.

          16.    MS-13 cliques kept in contact and reported to the supreme Shotcallers for their

respective cliques. who were oftentimes based in EI Salvador.      Cliques contacted their leaders

based in El Salvador using cellular telephones during clique meetings to keep them updated on

gang business. for advice, and to resolve disagreements regarding operations among local cliques.

Incarcerated clique leaders based in EI Salvador regularly communicated and directed orders to

Maryland-based c1iqucs through phoncs smuggled into Salvadoran prisons.

          17.    MS-13 members met on a regular basis to, among other things, discuss gang atl'airs

and report on acts ofviolcnce committed by their membcrs. with the goal of inciting and

encouraging further violence.     Each clique held clique meetings where business specific to that

clique was discussed.    Any perceived indiscretions by members or violations ofMS-13 rules were

talked about at clique meetings and punishments or "violations" were issued.        Violations often

took the form of beatings by fellow MS-13 members.         More serious violations resulted in the

issuance of a "greenlight."    A greenlight was an order and/or approval to kill.




                                                   5
              Case 8:15-cr-00258-PJM Document 13 Filed 07/06/15 Page 6 of 18



         18.      MS-13 leaders from various cliques also held regional meetings to discuss issues

between cliques and discuss criminal ventures among the cliques.         Clique leaders from across the

United States. from other countries, and within regions of the United States would meet or

communicate by telephone conference to discuss gang rules and gang business, to resolve

problems or issues among cliques and gang members of different cliques, and to unite gang

members from across the country.

         19.      MS-13 receivcd moncy and incomc from sources including mcmber dues and the

extortion or "taxing" of brothels and other illegitimate businesses.     Such funds were used for gang

purposes, including obtaining weapons and providing support for MS-13 gang members who were

imprisoned in the United States, both inside and outside of Maryland, and in El Salvador.

         20.      MS-13 members communicated about gang activities with other MS-13 members

in Maryland and elsewhere using mobile telephones, telephone text messages, social media such

as Facebook and e-mail accounts.andothcrmodesofcommunication.Additionally.MS-13

members used transnational and intemationalmoney          wire transfers to conduct and promote gang

activities.

                                   The Racketeering       Enterprise

         21.      MS-13, including its leadership, membership, and associates, constituted an

enterprise as delined in 18 U.S.c.   S   1961(4), that is, a group of individuals associated in fact that

engaged in, and the activities of which alfected. interstate and foreign commerce ("the

Enterprise").    The Enterprise constitutcd an ongoing organization whose members functioned as a

continuing unit for a common purpose of achieving the objectives of the Enterprise.

                                     Purposes    of the Enterprise

         22.      The purposes of the Enterprise included:




                                                     6
              Case 8:15-cr-00258-PJM Document 13 Filed 07/06/15 Page 7 of 18



                  a.     Preserving and protecting the power, territory, and profits of the Enterprise

through the usc of intimidation and violence, including assaults. murders, and threats of violence;

                  b.     Promoting and enhancing the Enterprise and its members' and associates'

activities;

                  e.     Enriching the members and associates of the Enterprise through extortion;

                  d.     Keeping victims and potential witnesses in fear of the Enterprise and in

fear of its members and associates through threats of violence and actual violence; and

                  e.     Providing assistance to members and associates in order to hinder.

obstruct and prevent law enforcement officers from identifying offenders, apprehending

ofTenders, and trying and punishing offenders.

                              Means and Methods of the Enterprise

        23.       Among the means and methods by which the defendants and others conducted and

pattieipated in the affairs of the Enterprisc were the following:

                  a.    Members and associates of the Enterprise used, attempted to use, and

conspired to use extortion;

                  b.     Members and associates of the Enterprise committed, attempted, and

threatened to commit acts of violence, including murder. to protect and expand the Enterprise's

criminal operations;

                  c.    Members and associates of the Enterprise promoted a climate of fear

through violence and threats of violence; and

                 d.     Members and associates of the Enterprise used and threatened to usc

physical violence against various individuals.




                                                   7
          Case 8:15-cr-00258-PJM Document 13 Filed 07/06/15 Page 8 of 18



                                 The Racketeering       Conspiracy

        24.     Beginning on a date unknown to the Grand Jury, but at least prior to in or about

2012, and continuing through at least in or about 2014, in the District of Maryland and elsewhere,

                               ALDAIR GARCIA-MIRANDA,
                                      a/kla "Calla do,"
                                      a/k/a "Poseido,"
                             SEL VIN RAYMUNDO SALAZAR,
                                        a/kla "Little,"
                                   a/kla "InlJuieto," and
                          RAUL ERNESTO LANDA VERDE-GIRON,
                                      a/kla "Decente,"
                                      a/kla "Humilde"

each being a person employed by and associated with MS-13, an enterprise engaged in, and the

activities of which affected. interstate and foreign commerce, together with others known and

unknown to the Grand .ItIIY, did knowingly and intentionally conspire to conduct and participate,

directly and indirectly, in the conduct of the affairs of the Enterprise through a pattern of

racketeering activity, as defined in 18 U.S.C.   ** 1961(1) and (5), which pattern of racketeering
activity consisted of multiple acts involving murder, in violation of Maryland Code, Criminal

Law   ** 2-201,2-204,2-205,   and 2-206, and the Common Law of Maryland, punishable pursuant

to Maryland Code, Criminal Law     ** 1-201, 1-202.2-201,2-204.2-205       and 2-206; and multiple

acts involving extortion, in violation of Maryland Code, Criminal Law      ** 3-70 I and 3-705, and
the Common Law of Maryland.

                    Manner    and Means of the Racketeering          Conspiracy

               Among the manners and means used by the defendants and their co-conspirators to

achieve the objects of the conspiracy were the following:

               a.      The defendants, as members of MS-13, met and communicated with other

MS-13 gang members to discuss, among other things: the structure and organization of the gang;

past criminal acts committed against rival gang members and others; MS-13 members who were

                                                   8
            Case 8:15-cr-00258-PJM Document 13 Filed 07/06/15 Page 9 of 18



arrested or incarcerated; the disciplining of MS-13 members; police interactions with MS-13

members; the identities of individuals suspected of cooperating with law enforcement and the

proposed actions to be taken against them; plans and agreements regarding the commission of

future crimes, as well as ways to conceal these crimes; and the enforcement of gang rules.

                b.     MS-13 members also communicated with other MS-13 members in

Maryland and elsewhere, and represented their gang allegiance, through social media such as

Facebook, including by posting photographs ofthcmselves     with other gang members, showing

gang hand signs, wearing colors or clothing associated with MS-13, and posing with weapons or

gang-related graffiti, and by sending and/or posting messages refercncing their affiliation with

MS-13.

                c.     The defendants and other members and associates of MS-13 agreed to

purchase, maintain, and circulate weapons and firearms for use in criminal activity by MS-13

members.

                d.     MS-13 received money and income from sources including the extortion of

persons engaged in business activities.   Such funds were used for gang purposes, including

obtaining weapons and providing support for MS-13 gang members, including those imprisoned in

the United States, inside and outsidc of Maryland, and in EI Salvador.

                e.     The defendants and other members and associates of MS-13 agreed that

acts of violence, including murder and attempted murder would be committed by members and

associates of MS-13 against rival gang members and others when it suited the Enterprise's

purposes.    MS-13 membcrs also uscd violence to impose discipline within the gang.

                1'.    MS-13 would obstruct justice and harm, threaten, and intimidate witnesses

and victims who cooperated with law enforcement.



                                                 9
         Case 8:15-cr-00258-PJM Document 13 Filed 07/06/15 Page 10 of 18



                g.      The defendants and other members and associates of MS-13 would

investigate rival gang members or other persons targeted for violence; would obtain information

about such targets, including locations frequented by them; and would use such information in

their plans to attack such targets.

                h.      The defendants and other members and associates of the gang would and

did agree that acts of murder, including conspiracy and attempts to commit murder, and other acts

of violence, would be committed by members and associates ofMS-13 against rival gang members

and persons deemed as threats to MS-13 and for the purpose of imposing discipline within the

gang, and on other occasions as deemed necessary.

                                             Overt Aets

       26.      In furtherance of the conspiracy, and to effect the illegal objects thereof, the

defendants and their co-conspirators performed, participated in, and did the following acts, among

others, in the District of Maryland and elsewhere:

                a.      On or about February 28, 2013, in the Langley Park area of Prince George's

County, SALAZAR possessed a fiream1 of the Nonnandie Clique of MS-13 (the "Normandie

Clique lirearm").

                b.      On or about February 28, 2013, SALAZAR traveled to the Langley Park

area of Prince George's County with the Normandie Clique lirearm.

                c.      On or about February 28, 2013, SALAZAR met with other MS.13

members in the Langley Park area of Prince George's County and discussed searching for and

attacking rival gang members or, chavalas.

                d.      On or about February 28, 2013, SALAZAR and other MS-13 members

traveled to the Lewisdale area of Prince George's County searching for chavalas.



                                                  10
         Case 8:15-cr-00258-PJM Document 13 Filed 07/06/15 Page 11 of 18



                 e.      On or about February 28, 2013, SALAZAR       and other MS-!3 members

used the Normandie Clique tirearm to shoot and kill a person known to the Grand Jury and

identitied for the purposes of this Superseding Indictment as Victim-I because Victim-] was a

suspected ehavala.

                 f.      On or about February 28, 2013, SALAZAR       and other MS-]3 members hid

and concealed the Normandie Clique tirearm so that it could be used by MS-13 members as

needed in the future.

                 g.      In or about 2013 and 2014, in the area of Montgomery County, Maryland,

SALAZAR        threatened a person known to the Grand Jury and identified for the purposes of this

Superseding Indictment as Victim-2 with violence by MS-13 ifVictim-2 did not pay sums of

money to SA LAZA R as "rent."

                 h.      In or about 2013 and 2014, in response to SALAZAR's        threats, Victim-2

paid sums of money to LANDA VERDE-GIRON                as rcnt paymcnts to MS-13.

                 1.      In or about November of2013, GARCIA-MIRANDA,

LANDA VERDE-GIRON,            and others known and unknown to the Grand Jury, planned and

discussed the killing of a person known to the Grand Jury and idcntified for the purposes of this

Superseding Indictment as Vietim-3, who had fled from E] Salvador to the Frederick, Maryland

area to escape a "greenlight," or order to kill, that had been imposed against Victim-3 by MS-13 in

EI Salvador.

                 J.      In or about November of2013, MS-13 members in Maryland contirmed

that thc greenlight against Victim-3 was still in effect.




                                                  ]I
         Case 8:15-cr-00258-PJM Document 13 Filed 07/06/15 Page 12 of 18



                k.     On or about November 30, 2013, MS-13 members, including

GARCIA-MIRANDA          and LANDA VERDE-GIRON,           amled themselves with knives and the

Nonnandie Clique firearm for the purpose of killing Victim-3.

                l.     On or about November 30, 2013, MS-13 members lured Victim-3 to a

wooded area between Greenwall Place and Hoke Place, in Frederick, Maryland with the intention

of killing Victim-3.

                m.     On or about November 30,2013, MS-13 members, including

GARCIA-MIRANDA          and LANDA VERDE-GIRON,           did kill Vietim-3 by shooting him in the

head utilizing the Normandie Clique firearm used in Overt Acts a-f~ and stabbing him multiple

times.

               n.      On or about July 30, 2014, GARCIA-MIRANDA           and SALAZAR,      and

other members and associates of MS-13, communicated and discussed attacking persons in the

area of Hyattsville, Maryland, who were believed to be rival gang members and who were also

believed to have taken property from an MS-13 associate.

               o.      On or about July 30, 2014, GARCIA-MIRANDA            and SALAZAR,     along

with other MS-13 members and associates, traveled to the area of the 5700 block of 30th Avenue

in Hyattsville, Maryland, with firearms in their possession, for the purpose of searching for and

shooting rival gang members and persons who were believed to have taken property from an

MS-13 associate.

               p.      On or about July 30, 2014, GARCIA-MIRANDA           and SALAZAR, and

another MS-13 associate, exited a Jeep Cherokee driven by another MS-13 member and walked to

a nearby location where three persons knowll to the Grand Jury and identified for the purpose of

this Superseding Indictment as Victim-4, Victim-5, and Victim-6 were walking.



                                                12
            Case 8:15-cr-00258-PJM Document 13 Filed 07/06/15 Page 13 of 18



                      q.       On or about July 30, 2014, GARCIA-MIRANDA                    and an MS-13 associate.

while in the company           of SALAZAR,       fired multiple shots fi'om handguns,           including     from the

Normandie          Clique firearm used in Overt Acts a-I' and k-m, at the victims, striking Victim-4 seven

times and Victim-5 once.

                      r.       Alier shooting   Victim-4 and Victim-5,          GARCIA-MIRANDA                 and

SALAZAR,            and the MS-13 associate.     ran back to the Jeep Cherokee         where the driver was waiting.

The group then ned the area in the Jeep Cherokee.

                      s.       On or about August       1,2014,   LANDA VERDE-GIRON                  took possession        of

the firearms used to shoot at Victim-4 and Victim-5,                including   the Normandie       Clique firearm. and

concealed         those tirearms.

                               Special   Sentencing     Factors    Rcgarding     Count   Onc

            27.        On or about February 28. 2013. in the District of Maryland.              SALAZAR         unlawfully

conspired         with others known and unknown to the Grand Jury to murder Victim-I.                       in violation of

Maryland          Code, Criminal     Law ~ 2-20 I('1)( I) and the Common         Law of Maryland,       and punishable

pursuant      to Maryland      Code, Criminal    Law ~ 1-202.

            28.        On or about February 28. 2013, in the District of Maryland,              SALAZAR

feloniously,        willti.dly, and with deliberately   premeditated     malice. killed and murdered           Victim-I,    in

violation     of Maryland      Code, Criminal     Law   S 2-201   (a)( I).

            29.        On or about November       30, 2013. in the District of Maryland.

GARCIA-MIRANDA                      and LANDA VERDE-GIRON               unlawfully    conspired     with others known

and unknown           to the Grand Jury to murder Victim-3,        in violation of Maryland        Code, Criminal          Law

~ 2-20 1('1)(1) and the Common            Law of Maryland,        and punishable     pursuant     to Maryland     Code.

Criminal      Law ~ 1-202.




                                                             13
           Case 8:15-cr-00258-PJM Document 13 Filed 07/06/15 Page 14 of 18



       30.     On or about November 30,2013, in the District of Maryland,

GARCIA-MIRANDA          and LANDA VERDE-GIRON           feloniously, willfully, and with

deliberately premeditated malice, killed and murdered Victim-3, in violation of Maryland Code,

Criminal Law ~ 2-201 (a)(I).

       31.     On or about July 30,2014, in the District of Maryland, GARCIA-MIRANDA          and

SALAZAR      unlawfully conspired with others known and unknown to the Grand Jury to murder

Victim-4, Victim-5, and Victim-6, in violation of Maryland Code, Criminal Law ~ 2-201(a)(I) and

the Common Law of Maryland, and punishable pursuant to Maryland Code, Criminal Law

~ 1-202.

       32.     On or about July 30,2014, in the District of Maryland, GARCIA-MIRANDA          and

SALAZAR      feloniously, willfully, and with deliberately premeditated malice attempted to murder

Victim-4, Victim-5, and Victim-6, in violation of Maryland Code, Criminal Law ~~ 2-205 and

2-201, and the Common Law of Maryland, and punishable pursuant to Criminal Law ~ 1-20 I.




18 U.S.c. ~ 1962(d)




                                                14
             Case 8:15-cr-00258-PJM Document 13 Filed 07/06/15 Page 15 of 18



                                                COUNT TWO
                        (Conspimcy       to Commit Murder in Aid of Racketeering)

        The Grand Jury for the District of Maryland further charges that:

         I.         Paragraphs   J   through 20, 22 through 23, and 26(n)-(r) of Count One of this

Superseding Indictment are incorporated here.

        2.          MS-13, including its leadership, membership, and associates. constituted an

enterprise as defined in 18 U.S.c.         !i I959(b)(2),   that is, a group of individuals associated in fact

that engaged in, and the activities of which affected, interstate and foreign commerce ("the

Enterprise").       The Enterprise constituted an ongoing organization whose members functioned as a

continuing unit for a common purpose of achieving the objectives of the Enterprise.

        3.          The Enterprise, through its members and associates. engaged in racketeering

activity, as detined in 18 U.S.C.        !is   1959(b)(I), and 1961(I), that is acts invol ving murder in

violation of Maryland Code, Criminal Law              !is 2-201,   2-204, 2-205. and 2-206, and the COl11mon

Law of Maryland, punishable pursuant to Maryland Code, Criminal Law                   SS   1-20 I. 1-202,2-201,

2-204,2-205, and 2-206; and acts involving extortion, in violation of Maryland Code, Criminal

Law   !is 3-70 I,   3-705, 3-706, and the Common Law of Maryland.

        4.          On or about July 30, 2014, in the District of Maryland.

                                      ALDAIR GARCIA-MIRANDA,
                                               a/kla "Callado,"
                                            alk/a "Poseido," and
                                     SEL VIN RAYMUNDO SALAZAR,
                                                alk/a "Little,"
                                              a/k/n "Inquieto,"


for the purpose of gaining entrance to. and maintaining and increasing position in, MS-!3, an

enterprise engaged in racketeering activity, did knowingly and willfully combine, conspire,

confederate, and agree with each other and others known and unknown to the Grand Jury to



                                                            15
             Case 8:15-cr-00258-PJM Document 13 Filed 07/06/15 Page 16 of 18



murder Victim-4, Victim-5, and Victim-6, in violation of and punishable pursuant to Maryland

Code, Criminal Law         SS 2-201   and 2-204, and the Common Law of Maryland, all in violation of 18

U.S.C.   S   1959(a)(5).




18 U.S.C.     S 1959(a)(5)




                                                      16
         Case 8:15-cr-00258-PJM Document 13 Filed 07/06/15 Page 17 of 18



                                              COUNT THREE
                                  (Attempted Murder in Aid of Racketeering)

        I.         Paragraphs 1 through 20. 22 through 23, and 26(n)-(r) of Count One of this

Superseding Indictment are incorporated here.

        2.         Paragraphs 2 and 3 of Count Two of this Superseding Indictment are incorporated

here.

        3.         On or about July 30, 2014. in the District of Maryland,

                                        ALDAIR GARCIA-MIRANDA,
                                                a/k/a "Callado,"
                                             a/k/a "Poseido," and
                                       SELVIN RAYMUNDO SALAZAR,
                                                 a/k/a "Little,"
                                               a/k/a "Inquieto,"

for the purpose of gaining entrance to, and maintaining and increasing position in, MS-13, an

enterprise engaged in racketeering activity, feloniously, willfully. and with deliberately

premeditated malice, attempted to murder persons known to the Grand Jury and identified for the

purposes of this Indictment as Victim-4, Victim-5, and Victim-6, which crime constituted

attempted murder in violation of Maryland Code, Criminal Law         SS 2-205   and 2-206, all in

violation of 18 U.S.C.        S   1959(a)(5).



18 U.S.C.    S   1959(a)(5)
18 U.S.C.    S   2




                                                      17
             Case 8:15-cr-00258-PJM Document 13 Filed 07/06/15 Page 18 of 18



                                           COUNT FOUR
                           (Usc, Carry, Brandish, and Dischargc a Fircarm
                            During and In Relation to a Crime of Violcncc)

        The Grand Jury for the District of Maryland further charges that:

        1.         Paragraphs I through 20, 22 through 23, and 26(n)-(r) of Count One of this

Superseding Indictment are incorporatcd herc.

        ')         Paragraphs 2 and 3 of Count Two this Superseding Indictment are incorporated

here.

        3.         On or about July 30, 2014, in the District of Maryland,

                                      ALDAIR GARCIA-MIRANDA,
                                               a/kla "Calla do,"
                                            a/kla "Poseido," and
                                     SEL VIN RAYMUNDO SALAZAR,
                                                a/kla "Little,"
                                              a/kla "Inquieto,"

did knowingly, intentionally, and unlawfully use, carry, brandish, and discharge a firearm during

and in relation to a crime of violence for which they may be prosecuted in a court of the United

States, to wit: Conspiracy to Participate in a Racketeering Enterprise, in violation of 18 U.S.c.

~ I962(d), and Conspiracy to Commit Murdcr in Aid of Racketeering and Attempted Murder in

Aid of Racketecring, in violation of 18 U.S.C.     S   1959(a)(5), as charged in Counts One, Two, and

Three of this Superseding Indictmcnt, which are incorporated here.


18 U.S.c.     S 924(c)(1 )(A)(iii)
18 U.S.C.     S2                                                                        ~


                                                          \2cl J,12o~Yl
                                                          Rod J. Rosenstein
                                                          United States Attorney
A TRUE BILL:


SIGNATURE REDACTED                                        Date:   "J ilLY   6 . 2-0/5
                                                                             I




                                                    18
